Case 0:15-cv-62293-JAL Document 1 Entered on FLSD Docket 10/30/2015 Page 1 of 5



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               Case No.
                                        -----------------
                               State Case No. COS0-15-005475

 CHANTELLE RITTER

        Plaintiff,

 v.

 MEDICREDIT, INC.

        Defendant.

 ___________________________________./
                                     NOTICE OF REMOVAL

        Defendant Medicredit, Inc. ("Medicredit") timely files this Notice of Removal pursuant

 to 28 U.S.C. §§ 1331, 1441, and 1446, removing this action from the County Court of the

 Seventeenth Judicial Circuit in and for Broward County for the State of Florida, to the United

 States District Court for the Southern District of Florida, Fort Lauderdale Division, and in

 support of this Notice, states as follows:

         1.     On September 18, 2015, Plaintiff Chantelle Ritter ("Ritter") filed a Complaint

 against Medicredit (the "Complaint") in the County Court of the Seventeenth Judicial Circuit, in

 and for Broward County for the State of Florida, Case No. COS0-15-005475 (the "State Court

 Action").    The Complaint contains claims alleging a violation of the Fair Debt Collection

 Practices Act, 15 U.S.C. § 1692, et seq. (the "FDCPA") and a violation of the Florida Consumer

 Collection Practices Act,§ 559.55, et seq. (the "FCCPA").

        2.      Pursuant to 28 U.S.C. § 1446(a), Medicredit attaches to this Notice a copy of all

 pleadings, orders and other papers or exhibits of every kind currently on file in the State Court

 Action. See Exhibit A, attached hereto.
Case 0:15-cv-62293-JAL Document 1 Entered on FLSD Docket 10/30/2015 Page 2 of 5



        3.       Ritter served Medicredit with the summons in the State Court Action on

 September 30, 2015. Accordingly, Medicredit timely files this Notice within the 30-day limit

 established by 28 U.S.C. § 1446(b)(1).        See, e.g., Murphy Brothers, Inc. v. Michetti Pipe

 Stringing, Inc., 526 U.S. 344, 355 (1999) (noting that the removal time frame is triggered by

 receipt of formal service, not receipt of complaint.).

        4.       The United States District Court for the Southern District of Florida has original

 jurisdiction over this matter under 28 U.S.C. § 1331 because the claims alleging a violation of

 the FDCPA implicate this Court's federal questionjurisdiction. See Ex. A, Complaint at~~ 1, 8-

 11, 15 and 21. Further, the claims alleging a violation of the FCCPA implicate this Court's

 supplemental jurisdiction because Payne's FCCPA claims form part of the same case or

 controversy as Payne's FDCPA claim. Id. at ~1 1, 8-11, 15, 23, and 25-27.

         5.       Removal to the United States District Court for the Southern District of Florida is

 proper under 28 U.S.C. § 1441(a), which provides that any civil action brought in a County

 and/or State Court where the District Courts of the United States have original jurisdiction is

 removable to the district of the United States District Court embracing the place where such

 action is pending.

         6.       Venue is proper in the Fort Lauderdale Division of this Court because this action

 is being removed from the Seventeenth Judicial Circuit, in and for Broward County, Florida and

 the acts complained of in Plaintiffs Complaint are alleged to have occurred in Broward County,

 Florida. Id.   at~~   3, 9, 10 and 15.

         7.       In light of the foregoing, this Court has subject matter jurisdiction over this

 action, and this case is properly removed to this Court.




                                                   2
Case 0:15-cv-62293-JAL Document 1 Entered on FLSD Docket 10/30/2015 Page 3 of 5



        8.      Pursuant to to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being

 filed with the County Court for Broward County, Florida.

        WHEREFORE, Defendant Medicredit, Inc. gives notice that the above-entitled action is

 removed and transferred from County Court in and for Broward County, State of Florida, to the

 United States District Court for the Southern District of Florida.

                                               RESPECTFULLY SUBMITTED,


 Dated: October 30, 2015                     Respectfully submitted,


                                             s/ Paul De Boe
                                             PAUL J. DEBOE
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                                              Counsel for Defendant, Medicredit, Inc.




                                                   3
Case 0:15-cv-62293-JAL Document 1 Entered on FLSD Docket 10/30/2015 Page 4 of 5



                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 30, 2015 I electronically filed the foregoing
 document with the Clerk of the Court using CMIECF. I also certify that the foregoing document
 is being served this day on all counsel of record or pro se parties identified on the attached
 Service List in the manner specified, either via transmission of Notices of Electronic Filing
 generated by CM/ECF or in some other authorized manner for those counsel or parties who are
 not authorized to receive electronically Notices of Electronic Filing.



                                                 s/Paul J. De Boe
                                                 PAUL J. DEBOE




                                                4
Case 0:15-cv-62293-JAL Document 1 Entered on FLSD Docket 10/30/2015 Page 5 of 5



                                    SERVICE LIST

                           Chantelle Ritter v. Mericredit, Inc.
                 United State District Court, Southern District of Florida
                              CASE NO. 15-CV-XXXXX


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